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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

   CHARLES A. CALIA,

      Plaintiff,
                                                         CASE NO.:
   -vs-
                                                         JURY TRIAL DEMANDED
   OCWEN LOAN SERVICING, LLC, a foreign
   limited liability company,

     Defendant.
                                                     /

                                             COMPLAINT

          The Plaintiff, CHARLES A. CALIA, sues the Defendant, OCWEN LOAN SERVICING,

LLC, and in support thereof respectfully alleges the following:

                                    JURISDICTION AND VENUE

          1.       Plaintiff brings this action to recover statutorily prescribed damages for acts on the

part of Defendant OCWEN LOAN SERVICING, LLC, in violation of the Telephone Consumer

Protection Act of 1991, 47 U.S.C. § 227, et seq., (hereafter “TCPA”) and the Florida Consumer

Collection Practices Act, section 559.55, et seq., Florida Statutes (hereafter “FCCPA”).

          2.       Jurisdiction of this Court arises under 28 U.S.C. § 1331 as this case presents a

federal question, and supplemental jurisdiction arises under 28 U.S.C. § 1367 for the related state

law claims.

          3.       The alleged violations described herein occurred in Pasco County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the judicial

district in which a substantial part of the events or omissions giving rise to this action occurred.
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                                             PARTIES

       4.      Plaintiff, CHARLES A. CALIA, is and was at all material times a natural person

over the age of eighteen (18), who resides in Pasco County, Florida.

       5.      Plaintiff CHARLES A. CALIA is the regular user, carrier and subscriber of the

cellular telephone number at issue, (###) ###-8939, and is the “called party” with respect to the

calls placed by the Defendant that give rise to this action, as further described herein. See Breslow

v. Wells Fargo Bank, N.A., 755 F.3d 1265, 1266, 1267 Communications Reg. (P & F) 934, (11th

Cir.2014); See Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 643 (7th Cir. 2012).

       6.      Defendant OCWEN LOAN SERVICING, LLC, (hereafter “OCWEN”) is and was

at all material times a foreign limited liability company organized under the laws of the state of

Delaware, and authorized to transact business in the state of Florida. OCWEN maintains a

registered agent for service of process in Florida, and maintains its principal place of business at

1661 Worthington Road, Ste 100, West Palm Beach, FL 33409.

                                  PERSONAL JURISDICTION

       7.      This Court possesses specific personal jurisdiction over OCWEN as a result of its

acts within this District that violated the TCPA and the FCCPA.

       8.      OCWEN maintains sufficient minimum contacts with this District, has

purposefully availed itself of the privilege of doing business in this District, maintains a registered

agent and principal place of business in Florida, and possesses such a significant and continuous

presence in this District such as to be subject to the personal jurisdiction of this Court.

       9.      In addition, Plaintiff’s injuries alleged in this action arise from OCWEN’s mortgage

loan servicing activities in Florida, and result from OCWEN’s tortious conduct in performing said

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activities within Florida, in violation of the TCPA and the FCCPA within Florida. OCWEN

directed its conduct to have intended effects within Florida.

                                  FACTUAL ALLEGATIONS

       10.     At all times material hereto, Defendant OCWEN sought to collect an alleged

mortgage loan debt from Plaintiff CHARLES A. CALIA that arose from a transaction allegedly

incurred for personal, family or household purposes, and is therefore a “consumer debt” as that

term is defined by section 559.55(6), Florida Statutes.

       11.     At all times material hereto, Defendant OCWEN was the servicer of a mortgage

loan debt owed by Plaintiff.

       12.     In or about January of 2011, Defendant, OCWEN began initiating a campaign of

autodialed calls (“robocalls”) to Plaintiff’s aforementioned cellular telephone number, (###) ###-

8939, in an effort to collect the above described alleged mortgage loan debt.

       13.     Throughout the course of the telephone collection campaign described herein,

Plaintiff consistently and repeatedly instructed OCWEN’S representatives to cease calling him on

his cellular telephone number.

       14.     Despite    Plaintiff’s   clear   and   unambiguous    instructions   to   OCWEN’s

representatives to stop calling, Defendant OCWEN continued initiating autodialed calls to

Plaintiff’s cellular telephone number in an effort to collect the above described alleged debt,

disregarding Plaintiff’s instructions to cease placing such calls.

       15.     Defendant OCWEN intentionally harassed and abused the Plaintiff on numerous

occasions by and through its agents and representatives, including, but not limited to, initiating

several calls to Plaintiff’s cellular telephone during the course of a single day, sometimes within

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moments after the disconnection of the prior call, and on back to back days, with such frequency

as can reasonably be expected to harass the Plaintiff.

        16.    Despite Plaintiff’s instructions to OCWEN to stop placing calls to his

aforementioned cellular telephone number, Defendant OCWEN, in an effort to collect the above

described alleged debt, proceeded to engage in conduct in violation of the TCPA and FCCPA, as

described herein.

        17.    The telephone calls at issue were placed by Defendant OCWEN using an

“automated telephone dialing system” as defined by the TCPA, 47 U.S.C. § 227(a)(1), which has

the capacity to store or produce telephone numbers to be called, using a random or sequential

number generator, and to dial such numbers; and/or which has the capacity to dial numbers from

a list without human intervention (hereafter “ATDS” or “autodialer”). Specifically, Defendant

initiated each of the calls at issue to Plaintiff’s aforementioned cellular telephone number using

the “Aspect” dialing system, which at all material times operated as a “predictive dialer,” and

which possesses the inherent capacity to operate in the aforementioned manner as defined by the

TCPA.

        18.    During the four (4) year period prior to the filing of this Complaint, Defendant

OCWEN placed approximately three hundred (300) autodialed calls to Plaintiff on his

aforementioned cellular telephone number.

        19.    Defendant OCWEN initiated each of the calls at issue to Plaintiff’s aforementioned

cellular telephone number without the “prior express consent” of Plaintiff as specified by the

TCPA, 47 U.S.C. § 227(b)(1)(A).




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        20.      Alternatively, Defendant OCWEN initiated each of the calls at issue to Plaintiff’s

aforementioned cellular telephone number subsequent to Plaintiff’s revocation of any “prior

express consent” Plaintiff may have previously provided to Defendant OCWEN, or that OCWEN

mistakenly believed it had.

        21.      Additionally, none of the telephone calls at issue were placed by Defendant

OCWEN to Plaintiff’s aforementioned cellular telephone number for “emergency purposes” as

specified by the TCPA, 47 U.S.C. §227 (b)(1)(A).

        22.      Defendant OCWEN consents of and has knowledge and control of the collection

activities of its agents and representatives, including supervisors, managers, affiliates, subsidiaries,

divisions, employees, servants, partners, agents, vendors, assignees, transferees, collectors and/or

contractors with respect to the collection activity alleged herein.

        23.      Defendant OCWEN has a corporate policy of using an automatic telephone dialing

system and/or a pre-recorded or artificial voice message, just as it did when initiating the calls at

issue to the Plaintiff’s cellular telephone number, as described herein.

        24.      Defendant OCWEN willfully and/or knowingly violated the TCPA with respect to

the Plaintiff.

        25.      Despite having actual knowledge of its wrongdoing, Defendant OCWEN continued

the campaign of harassment and abuse.

        26.      Defendant OCWEN’S corporate policy is structured to continue to call individuals

like the Plaintiff, despite its lack of consent to place the calls, and despite the called parties’

requests that OCWEN stop calling.




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        27.     Defendant OCWEN’S corporate policy provided no means for the Plaintiff to have

his number removed from the call list.

        28.     Defendant OCWEN followed its corporate policies when attempting to

communicate with the Plaintiff in an effort to collect the alleged debt described herein.

        29.     Defendant OCWEN has been the recipient of numerous complaints from debtors,

alleged debtors, and non-debtors across the country, similar to those alleged in this action by

Plaintiff.

        30.     Defendant OCWEN has or should be in possession and/or control of call logs,

account notes, auto dialer reports and other records that detail the exact number of calls made to

Plaintiff over the course of the relevant time period.

        31.     As a direct and proximate result of Defendant’s acts or omissions, as set forth

herein, Plaintiff has suffered compensatory, statutory and actual damages in the form of emotional

distress, anxiety, fear, worry, embarrassment and mental suffering, pain, anguish, and loss of

capacity for the enjoyment of life.

        32.     Plaintiff’s statutory and actual damages in the form of emotional distress, anxiety,

fear, worry, embarrassment and mental suffering, pain, anguish, and loss of capacity for the

enjoyment of life pursuant to section 559.77, Florida Statutes, have continued and are continuing

as of the filing of this complaint.

        33.     All conditions precedent to the filing of this action have occurred or have otherwise

been waived.




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                                            COUNT I
                      VIOLATION OF THE TCPA AGAINST OCWEN

       34.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (33), as if fully set forth herein, and further alleges as follows:

       35.     None of the calls at issue were placed by Defendant OCWEN to Plaintiff’s

aforementioned cellular telephone number with the “prior express consent” of Plaintiff, as

specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

       36.     Alternatively, Plaintiff revoked any “prior express consent” Defendant OCWEN

had or mistakenly believed it had by verbally instructing Defendant to stop placing calls to his

cellular telephone number.

       37.     Additionally, none of the calls at issue were placed by Defendant OCWEN to

Plaintiff’s cellular telephone number for “emergency purposes” as specified by the TCPA, 47

U.S.C. §227 (b)(1)(A).

       38.     Defendant OCWEN willfully and/or knowingly violated the TCPA with respect to

Plaintiff CHARLES A. CALIA by repeatedly placing non-emergency calls to Plaintiff’s

aforementioned cellular telephone number using an automatic telephone dialing system and/or

prerecorded or artificial voice message without Plaintiff’s prior express consent, and after Plaintiff

instructed Defendant to cease calling, as specifically prohibited by the TCPA, 47 U.S.C.

§227(b)(1)(A)(iii).

       39.     The TCPA provides Plaintiff with a private right of action against Defendant

OCWEN for its violations of the TCPA, as described herein, pursuant to 47 U.S.C.A. § 227(b)(3),

and permits both injunctive relief and recovery of statutory damages.


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        WHEREFORE, Plaintiff CHARLES A. CALIA respectfully demands judgment against

Defendant OCWEN for statutory damages, actual damages, costs, interest, an injunction from

further violations of these parts, and for such other relief as this Court deems just and proper.

                                             COUNT II
                      VIOLATION OF THE FCCPA AGAINST OCWEN

        40.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (33), as if fully set forth herein, and further alleges as follows:

        41.     At all times material to this action Defendant OCWEN was and is subject to and

must abide by the laws of Florida, including section 559.72, Florida Statutes.

        42.     Defendant OCWEN engaged in an act or omission prohibited under section

559.72(7), Florida Statutes, by willfully communicating with the Plaintiff or any member of his

family with such frequency as can reasonably be expected to harass the Plaintiff.

        43.     Defendant OCWEN engaged in an act or omission prohibited under section

559.72(7), Florida Statutes, by willfully engaging in conduct which can reasonably be expected to

abuse or harass the Plaintiff.

        44.     Defendant OCWEN engaged in an act or omission prohibited under section

559.72(9), Florida Statutes, by attempting to enforce a debt when such person knows that the debt

is not legitimate, or asserting the existence of some other legal right when such person knows that

the right does not exist.

        45.     The actions of Defendant OCWEN have directly and proximately resulted in

Plaintiff sustaining damages in the past and on a continuing basis pursuant to section 559.77,

Florida Statutes, including, but not limited to: statutory damages, actual damages in the form of


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emotional pain and suffering, fear, worry, embarrassment, humiliation and loss of the capacity for

the enjoyment of life; and attorneys’ fees, interest and costs.

       WHEREFORE, Plaintiff CHARLES A. CALIA respectfully demands judgment against

Defendant OCWEN for statutory damages, actual damages, punitive damages, an injunction

against similar conduct in the future, attorneys’ fees, costs, interest and such other relief as this

Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury of all issues so triable.

                                               Respectfully submitted,

                                               /s/David P. Mitchell_
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